                                 UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TENNESSEE
                                       AT GREENEVILLE

     UNITED STATES OF AMERICA                              )
                                                           )
     v.                                                    )              No. 2:19-CR-087
                                                           )
     JOY HILEMAN                                           )


                                     MEMORANDUM AND ORDER

            Now before the Court is the defendant’s renewed pro se motion for compassionate

     release pursuant to 18 U.S.C. 3582(c)(1)(A)(i), and for the appointment of counsel. [Doc.

     394]. 1 The United States has responded in opposition [docs. 396, 397] and the defendant

     has not replied within the time allowed by this Court’s Local Rules. For the reasons that

     follow, the defendant’s motion will be denied.

                                         I.      BACKGROUND

            In February 2020, the Honorable Pamela L. Reeves sentenced the defendant to an

     87-month term of imprisonment for conspiring to distribute methamphetamine. The

     defendant is presently housed at FPC Alderson with a projected release date of September

     15, 2025. See Bureau of Prisons, https://www.bop.gov/inmateloc/ (last visited Sept. 30,

     2021). She now seeks compassionate release due a recent cancer diagnosis, 1998 thyroid

     issues, 2014 melanoma issues, gallbladder surgery, back problems, a hernia, obesity, and

     her rehabilitative efforts. 2


 1
     A previous motion was denied by the undersigned on October 30, 2020. [Docs. 267, 302].
 2
  In her prior motion, the defendant also cited the COVID-19 pandemic. As such, the Court will address her
 current arguments herein both as presented and in conjunction with the ongoing pandemic.


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                             II. COMPASSIONATE RELEASE

        Section 3582(c)(1)(A)(i) of Title 18, United States Code, allows district courts to

 consider prisoner motions for sentence reduction upon a finding of “extraordinary and

 compelling reasons.” That statute, as amended by the First Step Act of 2018, provides in

 relevant part:

        [T]he court, upon motion of the Director of the Bureau of Prisons [“BOP”], or
        upon motion of the defendant after the defendant has fully exhausted all
        administrative rights to appeal a failure of the Bureau of Prisons to bring a
        motion on the defendant’s behalf or the lapse of 30 days from the receipt of
        such a request by the warden of the defendant’s facility, whichever is earlier,
        may reduce the term of imprisonment (and may impose a term of probation or
        supervised release with or without conditions that does not exceed the unserved
        portion of the original term of imprisonment), after considering the factors set
        forth in section 3553(a) to the extent that they are applicable, if it finds that—

           (i) extraordinary and compelling reasons warrant such a reduction ... and
           that such a reduction is consistent with applicable policy statements issued
           by the Sentencing Commission....

  18 U.S.C. § 3582(c)(1)(A)(i). Prior to the First Step Act, a motion for compassionate

  release could only be brought by the BOP Director, not a defendant.         See 18 U.S.C. §

  3582(c)(1)(A) (2017). The First Step Act amended § 3582(c)(1)(A) to allow a defendant

  to file a motion for compassionate release after first asking the BOP to file such a motion

  on her behalf. See, e.g., United States v. Alam, 960 F.3d 831, 832 (6th Cir. 2020).

        The United States Sentencing Commission has promulgated a policy statement

  regarding compassionate release under § 3582(c), which is found at U.S.S.G. § 1B1.13 and

  the accompanying application notes. When the undersigned denied the defendant’s prior

  compassionate release motion in October 2020, district courts in this circuit regularly

  turned to U.S.S.G. § 1B1.13 to provide guidance on the “extraordinary and compelling

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     reasons” warranting a sentence reduction. However, courts in this circuit are no longer to

     do so, at least as to compassionate release motions filed by prisoners (rather than by the

     BOP).     See Jones, 980 F.3d at 1108 (“[H]olding” that guideline 1B1.13 “is not an

     ‘applicable’ policy statement when an imprisoned person files a motion for compassionate

     release.”); accord United States v. Elias, 984 F.3d 516 (6th Cir. 2021). 3

           In Jones, the Sixth Circuit observed that “[d]istrict courts should [still] consider all

     relevant § 3553(a) factors before rendering a compassionate release decision.” 980 F.3d at

     1114. Subsequently, in Elias, the appellate court “clarified” that “district courts may deny

     compassionate-release motions when any of the three prerequisites listed in §

     3582(c)(1)(A) is lacking and do not need to address the others.” 984 F.3d at 519.

         A. Exhaustion

             In this case, the record demonstrates that the defendant has previously asked the

     BOP to file a compassionate relief motion on her behalf. [Doc. 267]. Thirty days have

     passed since that request was received by the warden of her facility. [Id.]. The United

     States does not dispute that the defendant has exhausted her administrative remedies, and

     the Court finds that it has authority under § 3582(c)(1)(A) to address the instant motion.

     See Alam, 960 F.3d at 832.

         B. Merits

             As mentioned above, in support of her motion the defendant cites a recent cancer

     diagnosis, 1998 thyroid issues, 2014 melanoma issues, gallbladder surgery, back problems,




 3
     No guideline policy statement other than § 1B1.13 has been raised in this case.
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  a hernia, obesity, and her rehabilitative efforts. The Court has also considered the ongoing

  COVID-19 pandemic, as cited in the defendant’s prior motion.

         At the defendant’s correctional institution, there are currently 19 inmates and four

  staff positive for COVID-19, with 15 inmates and 31 staff having recovered, and no deaths.

  See Bureau of Prisons, https://www.bop.gov/coronavirus/ (last visited Sept. 30, 2021).

  These numbers are not insignificant, but the Court simultaneously notes that outside the

  prison setting our nation remains in grave crisis in terms of COVID diagnoses, variants,

  hospitalizations, and deaths.   Further, the COVID-19 pandemic cannot alone justify

  compassionate release. See, e.g., United States v. Shah, No. 16-20457, 2020 WL 1934930,

  at *2 (E.D. Mich. April 22, 2020) (“[S]peculation as to whether COVID-19 will spread

  through Defendant’s detention facility . . . , whether Defendant will contract COVID-19,

  and whether he will develop serious complications, does not justify the extreme remedy of

  compassionate release.”); see also United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020)

  (“[T]he mere existence of COVID-19 in society and the possibility that it may spread to a

  particular prison alone cannot independently justify compassionate release[.]”).

         Additionally, at the defendant’s prison, 70 staff and 399 inmates have now been

  fully vaccinated. See Bureau of Prisons, https://www.bop.gov/coronavirus/ (last visited

  Sept. 30, 2021). The defendant has herself been fully vaccinated. [Doc. 397].

       BOP medical records filed by the United States confirm that in June of this year the

  defendant was diagnosed with a malignant tumor in her right breast. [Id.]. She is awaiting

  a mastectomy. [Id.]. Additionally, as of March 3, 2021, the defendant weighed 241.2

  pounds with a height of 68 inches. [Id.]. These numbers equate to a body mass index

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  (“BMI”)           of        36.7.             See       Adult         BMI        Calculator,

  https://www.cdc.gov/healthyweight/assessing/bmi/adult_bmi/english_bmi_calculator/bmi

  _calculator.html (last visited Sept. 30, 2021). Persons with a BMI of 30 or greater are

  considered obese. Id.

       Obese persons and persons with cancer can be more likely to become severely ill if

  infected   with        COVID-19.      See   People   with   Certain   Medical    Conditions,

  https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical

  -conditions.html (last visited Sept. 30, 2021). Nonetheless, although the Court sincerely

  sympathizes with defendant regarding her recent diagnosis, the Court cannot find that her

  cancer and obesity, even when considered along with her other purported conditions and

  the COVID-19 pandemic generally, presently amount to extraordinary and compelling

  grounds for her release.

       As pointed out by the United States, there is simply no evidence that the defendant’s

  medical conditions render her significantly vulnerable in the prison setting at this time. As

  recently as May and July of this year, medical examiners have described her as

  “[a]ppear[ing] well” and “healthy-appearing.” [Doc. 397]. In July of this year, she

  reported no significant problems such as weakness or shortness of breath. [Id.]. On the

  record before it, the Court does not find extraordinary and compelling reasons for

  compassionate release at this time.

       Even if that were not the case, the Court concludes—as it did in its prior ruling— that

  the defendant’s release would not be consistent with 18 U.S.C. § 3553(a). [Doc. 302, p. 7-

  9]. As directed by § 3582 and the Sixth Circuit’s holding in Jones, the Court has considered

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  the defendant’s arguments (individually and in combination) along with the broader facts

  of this case in light of the pertinent § 3553(a) factors. Pursuant to that statute,

        The court shall impose a sentence sufficient, but not greater than necessary, to
        comply with the purposes set forth in paragraph (2) of this subsection. The
        court, in determining the particular sentence to be imposed, shall consider –

        (1) the nature and circumstances of the offense and the history and
        characteristics of the defendant;

        (2) the need for the sentence imposed—

           (A) to reflect the seriousness of the offense, to promote respect for the law,
           and to provide just punishment for the offense;

           (B) to afford adequate deterrence to criminal conduct;

           (C) to protect the public from further crimes of the defendant; and

           (D) to provide the defendant with needed educational or vocational training,
           medical care, or other correctional treatment in the most effective manner;

        (3) the kinds of sentences available;

        (4) the kinds of sentence and the sentencing range established for—

           (A) the applicable category of offense committed by the applicable category
           of defendant as set forth in the guidelines—

                 (i) issued by the Sentencing Commission pursuant to section 994(a)(1)
                 of title 28, United States Code, subject to any amendments made to such
                 guidelines by act of Congress (regardless of whether such amendments
                 have yet to be incorporated by the Sentencing Commission into
                 amendments issued under section 994(p) of title 28); and

                 (ii) that, except as provided in section 3742(g), are in effect on the date
                 the defendant is sentenced; . . .

           ...

        (5) any pertinent policy statement—


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           (A) issued by the Sentencing Commission pursuant to section 994(a)(2) of
           title 28, United States Code, subject to any amendments made to such policy
           statement by act of Congress (regardless of whether such amendments have
           yet to be incorporated by the Sentencing Commission into amendments
           issued under section 994(p) of title 28); and

           (B) that, except as provided in section 3742(g), is in effect on the date the
           defendant is sentenced.

       (6) the need to avoid unwarranted sentence disparities among defendants with
       similar records who have been found guilty of similar conduct; and

       (7) the need to provide restitution to any victims of the offense.

  18 U.S.C. § 3553(a).

       The Court appreciates that the defendant has incurred no disciplinary sanctions while

  serving her sentence, and that she is participating in rehabilitative programming to the

  extent such resources are available during the pandemic. [Doc. 396, p. 6]. The defendant

  is encouraged to remain on that path. The Court also observes that, when sentenced, the

  defendant had a relatively minor criminal history. [Presentence Investigation Report, doc.

  118, ¶¶ 46-51].

       Conversely, in this case the defendant admittedly sold a substantial quantity of

  methamphetamine over a period of approximately two years. [Id., ¶¶ 11-28]. She also had

  more than five coconspirators “selling for her.” [Id., ¶ 19]. She was able on one occasion

  to travel from East Tennessee to Memphis for the purpose of transporting “three large

  suitcases full of methamphetamine” back to this district. [Id., ¶ 15]. The defendant was

  able to accomplish her crimes despite suffering from several of same medical conditions

  which she now offers as grounds for compassionate release. [Id., ¶¶ 57-58]. Of additional

  concern is the defendant’s significant substance abuse history dating back to at least 2001.

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  [Id. ¶ 61].

        For her substantial role in this conspiracy, the defendant received a sentence of only

  87 months. That sentence was just recently imposed, in February 2020, and the majority

  of it remains unserved. See United States v. Kincaid, 802 F. App’x 187, 188 (6th Cir. 2020)

  (Several § 3553(a) factors “permit the court to consider the amount of time served in

  determining whether a sentence modification is appropriate.”).

        The Court, again, appreciates the defendant’s rehabilitative efforts, her BOP

  disciplinary record, and her recent medical diagnosis.          Those facts, however, are

  outweighed by her significant role in this conspiracy and the immeasurable amount of harm

  that she caused. Compassionate release on the facts of this case would not reflect the

  seriousness of the offense of conviction, would not promote respect for the law or provide

  just punishment, and would not afford adequate deterrence or protect the public from future

  crimes of this defendant.

                              III.   APPOINTMENT OF COUNSEL

        The defendant again asks that an attorney be appointed on her behalf. The Court

  addressed that request in its prior ruling as follows:

        There is no constitutional right to counsel in post-conviction proceedings. See
        Pennsylvania v. Finley, 481 U.S. 551, 555 (1987) (“[T]he right to appointed
        counsel extends to the first appeal of right, and no further.”); Foster v. United
        States, 345 F.2d 675, 676 (6th Cir. 1965) (holding that the constitutional right
        to counsel does not extend to collateral proceedings). A district court has
        discretion, under 18 U.S.C. § 3006A(a)(2), to appoint counsel when “the
        interests of justice so require.” In exercising that discretion, a court should
        consider several factors, including the nature of the case, whether the issues are
        legally or factually complex, and the litigant’s ability to present the claims for
        relief to the court. See Lavado v. Keohane, 992 F.2d 601, 605 (6th Cir. 1993).


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        The compassionate release arguments presented to the Court in this case are
        straightforward and familiar, not beyond the capability of an ordinary pro se
        litigant. Further, pursuant to this court’s Standing Order SO-19-04, Federal
        Defender Services of Eastern Tennessee (“FDSET”) has already been
        appointed to represent all defendants who file a pro se § 3582(c)(1)(A) motion,
        but FDSET has not chosen to make an appearance in this case.

 [Doc. 302, p. 9-10].

        For those same reasons, the defendant’s renewed request for appointment of counsel

 will be denied.

                                   IV.     CONCLUSION

         As provided herein, the defendant’s renewed motion for compassionate release and

  for appointment of counsel [doc. 394] is DENIED.

               IT IS SO ORDERED.

                                                        ENTER:



                                                                 s/ Leon Jordan
                                                           United States District Judge




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